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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF ARKANSAS
                       PINE BLUFF DIVISION

MAEOLA AND DONNELL SMITH                                     PLAINTIFFS

v.                   CASE NO. 5:16-cv-00283-JMM

GENERAL MOTORS LLC                                          DEFENDANT

        DEFENDANT GENERAL MOTORS LLC’S REPLY BRIEF
        IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT




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                  UNITED STATES DISTRICT COURT
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MAEOLA AND DONNELL SMITH                                     PLAINTIFFS

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GENERAL MOTORS LLC                                          DEFENDANT




                  AFFIDAVIT OF STACEY WHELAN

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